          Case 1:25-cv-00165-RDA-IDD                Document 4          Filed 02/04/25        Page 1 of 2 PageID# 111

                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                         CRIMINAL RULE 57.4
                   In Case Number 1:25-cv-00165       , Case Name Johnson, et al., v. Acxiom, LLC
                   Party Represented by Applicant: Plaintiffs, Christopher Johnson and Shelby Zelonis Roberson

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) John A. Yanchunis
Bar Identification Number 324681                State Florida
Firm Name Morgan and Morgan Complex Litigation Group
Firm Phone # 813.223.5505                    Direct Dial # 813.275.5272                        FAX # 813.222.4736
E-Mail Address   jyanchunis@forthepeople.com
Office Mailing Address 201 N. Franklin Street, 7th Floor, Tampa, FL 33602

Name(s) of federal district court(s) in which I have been admitted See attached.

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I received a reprimand for filing a complaint without knowing while my license had been administratively suspended for failure
to pay bar dues and complete CLE.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules
of Evidence is current.

I am     am not    a full-time employee of the United States of America, and if so, request exemption from the admission fee.


                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                                                                               02/04/2025
                                                   (Signature)                                                 (Date)
                                                   Steven T. Webster                                           31975
                                                  (Typed or Printed Name)                                      (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid     or Exemption Granted

The motion for admission is GRANTED            or DENIED




                         (Judge’s Signature)                                                 (Date)
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                  Court of Admission                       Date of Admission        Status
 State of Florida, Bar No. 324681                              7/23/1981            Active
 State of Texas, Bar No. 22121300                             05/26/1980            Active
 Supreme Court for the United States of America                                     Active
 United States Circuit Court Of Appeals, 2nd Circuit            3/4/2022            Active
 United States Circuit Court Of Appeals, 3rd Circuit           2/10/2020            Active
 United States Circuit Court Of Appeals, 4th Circuit          12/29/2022            Active
 United States Circuit Court Of Appeals, 5th Circuit            1/6/2011            Active
 United States Circuit Court Of Appeals, 9th Circuit           3/13/2003            Active
 United States District Court, Southern District Of                                 Active
                                                               4/9/2004
 Florida
 United States District Court, Northern District Of                                 Active
                                                               6/17/2019
 Florida
 United States District Court, Middle District Of                                   Active
                                                               12/3/1982
 Florida
 United States District Court, Central District Of                                  Active
                                                               5/3/2018
 Illinois
 United States District Court, Northern District Of                                 Active
                                                               3/20/2007
 Illinois
 United States District Court, Eastern District of                                  Active
                                                              10/14/2008
 Michigan
 United States District Court, Northern District Of                                 Active
                                                               12/9/2004
 Texas
 United States District Court, Southern District Of                                 Active
                                                               10/6/1980
 Texas
 United States District Court, Western District Of                                  Active
                                                               1/20/2010
 Texas
 United States District Court, Eastern District of                                  Active
                                                              11/03/2000
 Wisconsin
 United States District Court, District of Nebraska           09/01/2022            Actice
